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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TOD MUTHIG                                :
                          Plaintiff       :
                                          :   Case No. 1:14-cv-01502-CCC
      v.                                  :
                                          :
SURFACE PREPARATION                       :   Jury Trial Demanded
TECHNOLOGIES, LLC                         :
                  Defendant               :


             JOINT MOTION TO STAY CASE MANAGEMENT
           DEADLINES PENDING A SETTLEMENT CONFERENCE

      Plaintiff Tod Muthig ("Plaintiff") and Defendant Surface Preparation

Technologies, LLC ("Defendant") (collectively the "Parties"), hereby file this Joint

Motion to stay the pending case management deadlines to allow the Parties to

participate in a settlement conference with a Magistrate Judge assigned by this

Honorable Court. In support of their Joint Motion, the Parties hereby state as

follows:

      1.     This action was commenced with the filing of Plaintiff's Complaint on

August 1, 2014.

      2.     By Order dated November 17, 2014, the Court set various case

management deadlines, including a fact discovery deadline of March 16, 2015, and

a dispositive motion deadline of April 16, 2015. (See Doc. No. 10.)

      3.     The Parties completed fact discovery by March 16, 2015.
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      4.       Defendant intends to file a Motion for Summary Judgment and

supporting Brief seeking judgment on its behalf on both counts alleged in the two-

count Complaint.

      5.       Since the close of discovery, the Parties have commenced settlement

discussions.

      6.       Before incurring the time and expenses associated with the filing of

dispositive motions, the Parties wish to participate in a settlement conference

before a Magistrate Judge.

      7.       If the Parties are unable to resolve this matter during the settlement

conference, the Parties would respectfully request a small amount of additional

time to complete the preparation and filing of dispositive motions.

      8.       Therefore, the Parties ask that the Court stay the pending deadline to

file dispositive motions and supporting briefs to allow them to seek to resolve the

matter at a settlement conference.

      9.       The Parties believe that a settlement conference may assist them in

reaching a resolution of this civil action prior to the expenditure of the time and

costs associated with the filing of dispositive motions. The Parties therefore

request that this Honorable Court assign a Magistrate Judge to conduct the

settlement conference.




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      10.      The Parties desire to schedule the settlement conference within the

next sixty (60) days.

      11.      In the event that the Parties are unable to resolve this matter at said

settlement conference, they ask that the Court set a new deadline for dispositive

motions and supporting briefs twenty-one (21) days after the date of the settlement

conference in order to allow the Parties time to complete and file dispositive

motions and that the Court modify the other case management deadlines

accordingly.

      12.      The Parties do not bring this Motion for any improper or dilatory

purpose, but rather request this stay and modification of case management

deadlines to allow them the opportunity to explore resolution of this matter at a

settlement conference and to complete and file dispositive motions in the event that

the settlement conference is unsuccessful.

      13.      Because this Motion is filed jointly and the reasons for it are fully

explained herein, the Parties do not intend to file a brief in support of this Joint

Motion.

      WHEREFORE, Plaintiff Tod Muthig and Defendant Surface Preparation

Technologies, LLC respectfully request that this Honorable Court enter an Order

(1) staying the dispositive motion deadline and other case management deadlines

in order to allow the Parties to have a settlement conference before a Magistrate



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Judge; (2) assigning a Magistrate Judge to schedule a settlement conference within

sixty (60) days of the Court's Order; and (3) setting a new dispositive motion

deadline twenty-one (21) days after the settlement conference if the Parties are

unable to resolve the matter, with the other case management deadlines modified

accordingly.

                                          Respectfully submitted,

                                          McNEES WALLACE & NURICK LLC


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Date: April 9, 2015                       Attorney for Plaintiff Tod Muthig




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